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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                             CR 13–52–GF–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 DUSTIN JAY AFTER BUFFALO,


                      Defendant.



      United States Magistrate Judge Keith Strong entered Findings and

Recommendation in this matter on August 8, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Strong recommended this Court accept Dustin Jay After Buffalo’s

guilty plea after the Defendant appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered his plea of guilty to the charge of Burglary in

violation of 18 U.S.C. § 1153(b)(2) and Mont. Code Ann. 45-6-204(1)(a), as set

forth in the Indictment.

      I find no clear error in Judge Strong’s Findings and Recommendation (doc.

57), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Dustin Jay After Buffalo’s motion to

change plea (doc. 40) is GRANTED.

      DATED this 3rd day of September, 2013.




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